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P R O B 35                  ORDER TERMINATING PROBATION
                              PRIOR TO EXPIRATION DATE


                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                             vs.                  )     Docket Number: 1:05CR00391-08 OWW
                                                  )
NICOLE GOSS                                       )
                                                  )


On August 21, 2006, the above-named was placed on Probation for a period of 3 years. She
has complied with the rules and regulations of supervision. It is accordingly recommended
that she be discharged from supervision.

                                   Respectfully submitted,

                                    /s/ Lonnie E. Stockton

                                  LONNIE E. STOCKTON
                              United States Probation Officer

Dated:         March 3, 2008
               Bakersfield, California


REVIEWED BY:          /s/ Rick C. Louviere
                      RICK C. LOUVIERE
                      Supervising United States Probation Officer




                                                                                                        R ev. 05/2006
                                                             E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
           Case 1:05-cr-00391-AWI Document 183 Filed 03/26/08 Page 2 of 2


Re:   Nicole GOSS
      Docket Number: 1:05CR00391-08 OWW
      ORDER TERMINATING PROBATION
      PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the proceedings in
the case be terminated.

IT IS SO ORDERED.

Dated: March 24, 2008                        /s/ Oliver W. Wanger
emm0d6                                  UNITED STATES DISTRICT JUDGE




                                                                                                        R ev. 05/2006
                                                             E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
